        Case 1:22-cr-00007-LKG Document 174-1 Filed 01/19/23 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                        Criminal No. LKG 22-007

                v.

 MARILYN J. MOSBY,

                        Defendant



                     ORDER ON MOTION TO WITHDRAW AS COUNSEL

Premises Considered it is hereby

       ORDERED that the appearances of A. Scott Bolden, Rizwan A. Qureshi, Kelley Miller,

Anthony R. Todd, Gary E. Proctor and Lucius Outlaw are hereby withdrawn as counsel for the

Defendant in this Matter. It is further

       ORDERED that all current deadlines in this matter be held in abeyance pending new

counsel for the Defendant entering their appearance.

       So ordered this _______ day of January, 2023.




                                      _________________________________
                                      LYDIA K. GRIGGSBY
                                      UNITED STATES DISTRICT JUDGE
